          Case 8-16-72877-las   Doc 41   Filed 06/07/17    Entered 06/07/17 13:08:28
UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK         X
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IN RE                                            CASE NO. 16-72877
JAMES CONKLIN JR,
                                                          3rd Amended
                                                          CHAPTER 13 PLAN
                    Debtor(s).
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     1.   The future earnings of the debtor(s) are submitted to the
supervision and control of the trustee and the debtor shall pay to the
trustee for a period of 60 months, the sum of:

     *     $250 commencing JULY, 2016 through and including JUNE, 2021,the
           last month of the plan.

     2.   From the payments so received, the trustee shall make disbursements
as follows:

          (a) Full payments in deferred cash payments of all claims entitled
to priority under 11 U.S.C. Section 507 including Jacoby & Jacoby in the
amount of $4500

          (b) Holder of allowed secured claims shall retain the liens
securing such claims and shall be paid as follows:


     ALL POST-PETITION PAYMENTS INCLUDING BUT NOT LIMITED TO MORTGAGE, REAL
ESTATE TAXES, INCOME TAXES, COMMON CHARGES AND AUTO PAYMENTS TO BE MADE
OUTSIDE THE PLAN BY THE DEBTOR(S).


Bayview (First mortgage lien holder on the property known as 21 Swan View
Dr., Patchogue, NY, account number ending 7120) is current pursuant to
Order of Modification signed by the Court on May, 23, 2017




          (c) Subsequent and/or concurrently with distribution to secured
creditors, dividends to unsecured creditors whose claims are duly allowed
as follows:


Pro rata distribution to all timely filed proofs of claims not less than
100%


     3.    The following executory contracts of the debtor are rejected:
                NONE
     Title to the debtor(s) property shall revest in the debtor upon
completion of the plan, unless otherwise provided in the Order confirming
this plan


     Throughout the term of this plan, debtor agrees that debtor will not
incur post-petition debt over $1500.00 without first notifying the Chapter
13 trustee in writing.
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Dated: 6/7/17                       /S JAMES CONKLIN JR.


/S Richard Jacoby
Richard A. Jacoby, Esq.
Attorney for Debtor(s)
